REPLEVIN for goods levied on and taken in execution by the defendant, as sheriff of New Castle County, to which he pleaded, with other pleas, that the taking of the goods and chattels in the declaration mentioned was done by virtue and authority of a certain writ of fieri facias
issued out of this court and directed to him as the sheriff of said county, being No., to Term, 18, at the suit of one George W. W. Naudain against the said plaintiff, by the name of John R. Holten, upon and in pursuance of a certain judgment rendered against the said plaintiff, by the name of John R. Holten, by the said Superior Court, by confession, by that name, upon a warrant of attorney describing the said plaintiff as John R. Holten, and signed, sealed and duly executed by the plaintiff, sa id judgment being No. 595 as of the November Term, 1878. And this the said defendant is ready to verify, etc. This plea had been formally traversed with the other pleas on the record, but at this term, on the application of the counsel for the plaintiff and leave granted by the court, the replication was withdrawn and a general demurrer was entered to it.
Gray for the defendant, on the argument of the demurrer, cited 2.Str., 1218; 3 Taunt., 504; 6 Taunt., 115; 14 E. C. L., 220; 44 E. C. L., 406; 18 How., 404.
John H. Rodney, contra, cited 8 East., 328; 6 Tr., 234.
  The Court gave judgment for the defendant on the demurrer. *Page 433 